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 IT IS ORDERED as set forth below:



 Date: April 7, 2020

                                                                _____________________________________
                                                                           Lisa Ritchey Craig
                                                                      U.S. Bankruptcy Court Judge

_______________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

  IN RE:                        ) CASE NO. 20-62169-LRC
                                )
  CYNTHIA ANDERSON-GRAYSON,     ) CHAPTER 13
                                )
        Debtor.                 )
                                )
                                )
  U.S. BANK TRUST NATIONAL      ) CONTESTED MATTER
  ASSOCIATION, AS TRUSTEE FOR   )
  THE CABANA SERIES III TRUST,  )
                                )
        Movant,                 )
                                )
  vs.                           )
                                )
  CYNTHIA ANDERSON-GRAYSON, and )
  MELISSA J. DAVEY, Trustee,    )
                                )
        Respondents.            )
                                )

                                   ORDER ON MOTION
           U.S. Bank Trust National Association, as Trustee of the Cabana Series III Trust,

  c/o BSI Financial Services, its servicing agent ("Movant"), filed a Motion for Relief from
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  Automatic Stay and for In Rem Relief, or in the Alternative, for Dismissal with Prejudice

  on March 12, 2020 (Doc. No. 21) (“Motion”), and the telephonic hearing on the Motion

  was scheduled for March 31, 2020 at 1:15 p.m. Michael Grayson, not a party to this

  bankruptcy case, and Counsel for Movant were present during the telephonic hearing, but

  Debtor was not. There is not any opposition from the Chapter 13 Trustee, and good cause

  has been shown. Accordingly, it is hereby ORDERED AND ADJUDGED as follows:

                                                   1.

         The subject real property, 1699 Braeburn Drive, Atlanta, GA 30316, is not

  property of the estate, and therefore the Motion is denied as to the relief from the

  automatic stay and in rem relief sought therein.

                                                   2.

         Movant is relieved from the effect of the co-debtor stay to the extent, if any, that

  the co-debtor stay is applicable in this case.

                                    [END OF DOCUMENT]
  PREPARED BY:
  Attorney for Movant

         /s/
  Marc E. Ripps
  Georgia Bar No. 606515
  P.O. Box 923533
  Norcross, Georgia 30010-3533
  (770) 448-5377
  Email: meratl@aol.com

  NO OPPOSITION:
  Chapter 13 Trustee

         /s/
  Mandy K. Campbell             (By Marc E. Ripps, Esq. with express permission)
  Georgia Bar No. 142676
  Attorney for the Chapter 13 Trustee
  260 Peachtree Street, Suite 200
  Atlanta, GA 30303
  (678) 510-1444
  Email: mcampbell@13trusteeatlanta.com
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                         DISTRIBUTION LIST ON ORDER

          Pursuant to LR 9013-3(c) NDGa., the Order shall be served upon the following
  parties in interest:

         Marc E. Ripps, Esq.
         P.O. Box 923533
         Norcross, Georgia 30010-3533

         Melissa J. Davey, Esq.
         Standing Ch 13 Trustee
         Suite 200
         260 Peachtree Street, NW
         Atlanta, GA 30303

         Cynthia Anderson-Grayson*
         2435 Haverford Way
         Decatur, GA 30032
                *Pro se
